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                   IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA
__________________________________________

JAMES MICHAEL AMOR, et al.,                :
               Plaintiffs,                 :
                                           :
                  v.                       :               Civil No. 5:21-cv-05574-JMG
                                          :
COURTNEY CONOVER,                         :
                  Defendant.               :
__________________________________________

                                            ORDER

       AND NOW, this 4th day of August, 2022, after having received Defendant’s message that

she is attempting to obtain counsel, IT IS HEREBY ORDERED as follows:

       1.      Defendant shall provide the Court another update regarding her efforts to obtain

counsel no later than August 19, 2022.

       2.      The deadlines and trial dates set forth in the Court’s Scheduling Order (ECF No.

32) are STAYED until further notice from this Court.




                                            BY THE COURT:



                                            /s/ John M. Gallagher
                                            JOHN M. GALLAGHER
                                            United States District Court Judge
